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UNITED STATES DISTRICT COURT                                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                                           ELECTRONICALLY FILED
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CHEVRON CORPORATION,

                                        Plaintiff,


                    -against-                                                                    11 Civ. 0691 (LAK)


STEVEN DONZIGER, et al.,

                                        Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                          MEMORANDUM AND ORDER


LEWIS A. KAPLAN, District Judge.

                    Earlier this year, Chevron Corporation ("Chevron") issued post judgment

discovery requests for production of documents and an information subpoena to Donziger. 1 Its

focus was to obtain information pertinent to Chevron's desires to (1) collect its money

judgment,       and      (2) determining             whether      Donziger       has    been   complying   with   the

non-monetary provisions of the judgment.

                    On May 17, 2018, the Court, among other things, granted Chevron's request to

conduct discovery against Donziger with respect to Donziger's compliance with the non-monetary

portions of this Court's judgment but deferred the timing of that discovery pending the conduct of

a hearing on a civil contempt application.2 That hearing now has been concluded.



                   The Court includes in its references to "Danziger" Steven Danziger, The Law Offices of
                   Steven R. Doniziger, and Danziger and Associates PLLC unless otherwise indicated.
         2

                   DI 2009.
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